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UNITED STATES DISTRICT COURT

for the
DISTRICT OF MASSACHUSETTS

EDWARD F, GRODEN
Plaintiff

 

Civil Action No.: 1:21-CV—-10539-FDS

¥.

NORTH SHORE NEWS COMPANY, INC.
Defendant

 

SUMMONS IN A CIVIL ACTION

To: (Defendant's name and address)

North Shore News Company, Inc.
Thomas A. Mulkern, Jr. - Registered Agent
150 Blossom Street
Lynn, MA 01901
A lawsuit has been filed against you.

Within 21 days after service of this summons on you (not counting the day you received it) ——— or 60
days if you are the United States or a United States agency, or an officer or employee of the United States
described in Fed. R. Civ. P. 12 (a}(2) or (3) -—— you must serve on the plaintiff an answer to the attached
complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion must be
served on the plaintiff or plaintiff's attorney, whose name and address are:

Melissa A. Brennan, Esq.
Feinberg, Dumont & Brennan
177 Milk Street, Suite 300

Boston, MA 02109
If you fail to respond, judgment by default will be entered against you for the relief demanded in

the complaint. You also must file your answer or motion with the court.

ROBERT M. FARRELL
CLERK OF COURT

 

‘sf — Arnold Pacho
Signature of Clerk or Deputy Clerk

 

 

ISSUED ON 2021-03--30 15:04:11, Clerk USDC DMA
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Civil Action No.: 1:21-CV—10539-FDS
PROOF OF SERVICE
(This section should not be filed with the court uniess required by Fed. R. Civ. P. 4D)
This summons for (name of individual and titic, if any)__ North Shore News Company, Inc. c/o
; Thomas A. Mulkern, Jr., Registered Agent
was received by me on (date) April 7, 2021 .

oy personally served the summons on the individual at (place)

on (date) ;or

 

4 [eft the summons at the individual's residence or usual place of abode with (name)

, aperson of suitable age and discretion who resides there,

 

on (date) , and mailed a copy to the individual's last known address; or
Christine Santos (Office Manager). ;.

designated by law to accept service of process on behalf of (name of organization) North Shore News Co., Inc.

KT served the summons on (name of individual)

 

 

 

c/o Thomas A. Mulkerm, Jr., Reg. Agent on (datey April 7, 2021 - of
G T returned the summons unexecuted because or
D other (specify) :

My fees are $ for travel and $65.00 for services, for a total of $ 65.00

I declare under penalty of perjury that this information is true.

April 14, 2021 b ¢ Ee.
\

Date

 

Server's Signature

Mark Januzzi, Constable and Disinterested Person
Printed name and iitle

 

P.O. Box 339, Weymouth, MA 02188

Server's Address

 

Additional information regarding attempted service, etc:
